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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

  UNITED STATES OF AMERICA

  v.                                                        No. 4:18CR87
                                                            Judge Mazzant
  LAURA JORDAN (1)
       a/k/a Laura Maczka
  MARK JORDAN (2)                                                                   FILED
                                                                               U.S. DISTRICT COURT
                                                                            EASTERN DISTRICT OF TEXAS

                                SUPERSEDING INDICTMENT
                                                                                DEC 9 - 2020
  THE UNITED STATES GRAND JURY CHARGES:
                                                                       BY DEPUTY.

                                             Count One

                                                    Violation: 18U.S.C. § 1349
                                                    (Conspiracy to Commit Honest Services
                                                    Wire Fraud in violation of 18 U.S.C. §§
                                                    1343,1346)

  A. Introduction


           At all times material to this Superseding Indictment:

           1. The City of Richardson, Texas ( City of Richardson or “the City”), was a

  local government and political subdivision of the State of Texas and was governed by a

  mayor and a city council.

           2. Laura Jordan, defendant, who at all relevant times was known as Laura

  Maczka and will thus be referred to as Maczka” in this Superseding Indictment, was

  the mayor of the City of Richardson from May 2013 through April 2015. As mayor,

  Maczka was an agent of the City of Richardson and a voting member of the Richardson


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  City Council. Additionally, Maczka owed a fiduciary duty to the citizens of the City to

  perform the duties and responsibilities of her office free from corrupt influence.

          3. Maczka s duties as mayor included voting, along with the other members

  of the Richardson City Council, on proposals for zoning changes within the limits of the

  City. She also voted on requests to authorize the City Manager of the City of Richardson

  to negotiate contracts with land developers to reimburse land developers, with

  government funds, for expenses incurred on developments within the City.

          4. Maczka earned $50 per meeting as mayor of the City of Richardson. In

  2013 and 2014, Maczka earned approximately $2,600 each year working for the City of

  Richardson.


          5. Mark Jordan ( Jordan ), defendant, was a commercial real-estate


  developer. One of his companies, JP Realty Partners LTD. ( IP Partners”), acquired

  and developed commercial real estate. In 2011, JP Partners, along with a separate entity,

  KBS Strategic Opportunity REIT Richardson Portfolio JV, LLC, formed JP-KBS

  Richardson Holdings, LLC. JP-KBS Richardson Holdings, LLC, with Jordan acting as

  managing partner, purchased approximately 40 acres of developable land, along with two

  office properties (collectively called the Palisades Property”), located in the City of

  Richardson, the majority of which was located in the Eastern District of Texas. The

  Palisades Property was adjacent to the Canyon Creek and Prairie Creek neighborhoods in

  Richardson, Texas. Jordan also owned and controlled Sooner National Property

  Management, LP.


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           6. The Development and Economic Development Agreement request ( DEDA

   Request ) was a request Jordan caused to be submitted to the City of Richardson that

  requested up to $47,000,000 in reimbursements for construction and infrastructure

   expenses related to the Palisades Property, which included a 25-year, 50% tax rebate for

  infrastructure costs.


           7. M czka controlled a Wells Fargo bank account ending in 1020 ( Wells

  Fargo account 1”). Maczka also controlled a Wells Fargo bank account ending in 4928

  (“Wells Fargo account 2 ).

           8. The Contractor was an individual known to the Grand Jury. The

  Contractor owned and operated “the Company,” which was located in McKinney, Texas,

  in the Eastern District of Texas. The Company was also known to the Grand Jury.

          9. “The Employee” was an individual known to the Grand Juiy. The

  Employee worked for Sooner National Property Management, LP as a leasing agent from

  in or around 2012 through in or around February 2015.

           10. JJ, MM, GS, GK, LG, and JS were individuals known to the Grand Jury. JJ

  worked for Sooner National Property Management, LP as a Human Resources manager.

  MM was Maczka s husband from on or about April 22, 1989, through on or about

  January 8, 2015. The City of Richardson hired GS, an attorney, to conduct an ethics

  investigation into Maczka s and Jordan s relationship in Spring 2015. JS was an

  attorney Maczka retained to respond to the City s ethics investigation in Spring 2015.

  LG was Jordan’s architect who spoke on Jordan’s behalf at City meetings concerning


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  the Palisades Property. And GK was Jordan s accountant who filed Jordan’s tax

  returns.


  B. The Conspiracy

          11. From in or around May 2013, through on or about July 31, 2016, in the

  Eastern District of Texas and elsewhere, Maczka and Jordan conspired, combined, and


  agreed to devise a scheme and artifice to deprive the citizens of the City of Richardson,

  through fraud, of the honest services of Maczka, the mayor of the City of Richardson,

  and, for the purpose of executing the scheme and artifice, caused a wire communication

  to be transmitted in interstate commerce, a violation of 18 U.S.C. §§ 1343 and 1346.

  C. The Purpose of the Conspiracy

          12. The purpose of the conspiracy was for the defendants to use Maczka’s

  official position as the mayor of the City of Richardson to benefit and enrich themselves

  through bribery.

  D. Manner and Means of the Conspiracy

          It was part of the manner and means of the conspiracy and the scheme that:

          13. At the time Jordan and his partners purchased the Palisades Property, the

  Palisades Property was zoned for local retail and office use and for 300 condominiums; it

  was not zoned for apartments. Over time, Jordan envisioned transforming the Palisades


  Property into a mixed-use development that included, among other things, single-family

  units ( houses ) and apartments (collectively referred to as the Palisades Project ).

  According to Jordan’s representative, LG, the Palisades Project would not work without

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  the apartments because of what apartments contribute to the development. In Fall 2012

  and Spring 2013, Jordan began holding collaborative planning sessions involving local

  Richardson stakeholders (e.g., homeowners associations, City officials, and others), at

  which Jordan and LG presented Jordan s plans for the Palisades Project.

          14. Before being elected mayor of the City of Richardson, Maczka served on

  the Richardson City Council. On November 27, 2012, Maczka announced that she

  intended to run for mayor of the City in 2013. During the mayoral campaign in Spring

  2013, Maczka publicly stated that there should be no more apartments built in

  Richardson near Richardson neighborhoods. Maczka, her then-husband MM, and her

  children in fact lived in the Canyon Creek neighborhood immediately next to the

  Palisades Property. In one of her campaign advertisements, Maczka stated that [wjhen

  it comes to apartments, you know that Laura has always said we do not need more

  apartments near our neighborhoods. Period. Maczka was elected mayor of the City of

  Richardson by a majority vote on May 11, 2013, and began her term on May 20, 2013.

          15. In mid-to-late November 2013, shortly before the first vote of the

  Richardson City Council on Jordan’s proposed zoning changes for the Palisades

  Property, Jordan and Maczka secretly communicated and coordinated with each other

  concerning the Palisades Project through, among other means, email communications.


  These email exchanges caused wire communications to be made in interstate commerce.


          16. On December 9, 2013, the Richardson City Council held a public hearing

  before voting on Jordan’s requested zoning changes for the Palisades Property. Many


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  citizens of Richardson appeared for the hearing; the overwhelming number of citizens

  who spoke at the hearing were adamantly opposed to the proposed increase in apartment

  units allowed by the proposed zoning change. Despite this, and despite Maczka s public

  campaign pledge to oppose the construction of any new apartments near Richardson

  neighborhoods, Maczka spoke and voted in favor of Jordan s zoning changes. At two

  more Richardson City Council meetings on January 27 and June 9, 2014, Maczka again

  spoke and voted in favor of additional zoning changes requested by Jordan that allowed

  for the construction of a total of 1,090 new apartment units on the Palisades Property.

  And on September 22, 2014, Maczka voted to authorize the City Manager of the City of

  Richardson to negotiate with Jordan and his business partners on a deal that would

  obligate the City of Richardson to reimburse Jordan and his partners for various

  construction and infrastructure expenses associated with the Palisades Project up to

  $47,000,000.

          17. In exchange for Maczka’s favorable support and votes regarding the

  Palisades Property, Jordan offered and gave to Maczka, and Maczka accepted:

  monetary payments, which caused interstate wire communications, payments for

  renovations of Maczka’s residence, luxury hotel stays, flight upgrades, meals, lucrative

  employment with one of Jordan’s companies that involved the Palisades Property,

  intimate sexual contact, and other personal benefits and things of value.


          18. Maczka concealed things of value she accepted from Jordan by knowingly

  and willfully omitting them from a Local Government Officer Conflicts Disclosure


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  Statement ( Conflicts Form ) she was statutorily required to complete under Chapter 176

  of the Local Government Code. Maczka failed repeatedly to file the mandatory

  Conflicts Form in connection with the things of value Maczka accepted from Jordan.

  Maczka also made false and misleading statements to others, including Richardson City

  Council members and the Internal Revenue Service ( IRS”), an agency of the United

  States Treasury Department, about the things of value she accepted from Jordan, all

  designed to conceal the true nature of their corrupt relationship.

          19. Jordan concealed things of value he offered and gave to Maczka by

  knowingly and willfully causing them to be omitted from Jordan s sworn response to

  interrogatories in a Denton County District Court Filing. Jordan also caused the

  Contractor to generate a fraudulent invoice concealing Jordan’s payments for Maczka’s


  home renovations. Additionally, Jordan made false and misleading statements to others,

  including the IRS, about the things of value he offered and gave to Maczka, all designed

  to conceal the true nature of their corrupt relationship.

  E. Representative Acts of the Conspiracy and the Scheme and Artifice

          20. On or about the following dates in furtherance of the conspiracy, in the

  Eastern District of Texas and elsewhere, the defendants caused the following acts to be

  committed:

                 a. During her campaign for election to the office of the mayor of the

  City of Richardson, Maczka’s public position was that she was opposed to zoning that

  permitted construction of apartments next to neighborhoods. Specifically, Maczka

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  authorized and caused to be distributed the following statements in campaign

  advertisements:


                 When it comes to apartments, you know that Laura has always said we do
                 not need more apartments near our neighborhoods. Period, (emphasis in
                 original).

                 For the record, Laura has never supported building apartments in or
                 adjacent to our neighborhoods. . . .Laura is one of our most pro¬
                 neighborhood councilmembers. . . .She stands with - and for - our
                 neighborhoods.

                 b. On or about November 5, 2013, Jordan caused a presentation to be


  made to the City of Richardson Plan Commission that requested zoning changes for the

  Palisades Property. Jordan s zoning request included a decrease in the existing

  permissible number of condominiums from 300 to 250, and an increase in the permissible

  number of apartments adjacent to the Canyon Creek and Prairie Creek neighborhoods

  from 0 to 750.

                 c. On or about November 11, 2013, Maczka forwarded a constituent s

  email to Jordan that contained questions concerning the Palisades Property. On or about

  November 14, 2013, Jordan responded to Maczka at approximately 4:31 am with the

  following message:

                 See my answer below in RED. Happens to be my favorite color.. .Don’t
                 forward this to anyone. Just put it in your words....

                 d. On or about November 14, 2013, Maczka replied to Jordan’s email

  with the following message, in part:




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                 Ok... .Truly LOT on that one! You re fairly clever at 4:31 am. IT1 read
                 these responses and will obviously put in my own words. Since we’ve
                 already discussed the fact that I have some interesting vocabulary words
                 and it’s fairly obvious when other people are writing for me....


                 e. On or about November 19, 2013, Jordan caused his zoning request

  for the Palisades Property to be modified to request zoning that allowed for the

  construction of 600 apartments adjacent to the Canyon Creek and Prairie Creek

  neighborhoods.

                 f. On or about November 21, 2013, Maczka sent an email to Jordan

  in connection to Jordan s proposed zoning changes in which she stated, FTR [for the

  record], good thing I had such a fun afternoon yesterday. Because last night the prairie

  creek mob hit me hard! You were probably enjoying barbecue and chillaxing. I was

  taking bullets for you! © . The prairie creek mob referred to residents of the Prairie

  Creek neighborhood in the City of Richardson that were vocally opposed to the zoning

  changes requested by Jordan.

                 g. On or about December 9, 2013, Maczka, contrary to her campaign


  position and over the objection of 126 individuals present at the Richardson City Council

  meeting who expressed their opposition, voted in favor of the zoning change that allowed

  for the construction of 600 apartments on the Palisades Property adjacent to the Canyon

  Creek and Prairie Creek neighborhoods. Only nine individuals present at the meeting

  were in favor of the proposed zoning change and expressed their support.

                 h. On or about January 6, 2014, Jordan paid for Maczka to stay with

  him at the Holiday Inn Express in Plano, Texas.
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                  i. Between on or about January 14, 2014, to on or about January 16,

   2014, Jordan paid for Maczka to stay with him and ski at the Deer Valley Resort at Park

   City, Utah, in the approximate amount of $7,206.66.

                  j. On or about January 27, 2014, at a Richardson City Council

   meeting, Maczka voted in favor of the amended zoning change for the Palisades Property

   that maintained the permissible number of apartments adjacent to the Canyon Creek and

   Prairie Creek neighborhoods at 600, and allowed for additional changes including a

   landscape buffer, four acre park, driveways, a ring road, and the construction of single

   family homes. Maczka did not disclose to the Richardson City Council or the public

   during or prior to the meeting that Jordan had offered and given to her, and she had

   accepted, things of value from Jordan.


                  k. On or about April 16, 2014, Jordan paid for Maczka to stay with

   him at the Corde Valle Resort at San Marten, California, in the amount of $996.82.

                  l. On or about April 17, 2014, Jordan paid for Maczka to stay with

   him at The Ritz-Carlton at Marina del Ray, California, in the amount of $629.49.

                  m. On or about April 18, 2014, Jordan paid for Maczka s flight

   upgrade on American Airlines Flight 2410 from Los Angeles International Airport to

   Dallas-Fort Worth International Airport in the amount of 15,000 American Airlines miles

   and $75.00.

                  n. On or about May 20, 2014, Jordan, at a Richardson City Plan

   Commission meeting, caused a modification request to be submitted to the commission


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   regarding the Palisades Property zoning that included an increase in the number of

   permissible apartments adjacent to the Canyon Creek and Prairie Creek neighborhoods

   from 600 to 1400.

                  o. On or about June 3, 2014, at a Richardson City Plan Commission

   meeting, the proposed number of permissible apartments for the Palisades Property

   zoning changes was reduced to 1200.

                  p. On or about June 9, 2014, Jordan and Maczka, at a Richardson City

   Council meeting, agreed to reduce the number of permissible apartments for the proposed

   Palisades Property zoning changes from 1200 to 1090.

                  q. On or about June 9, 2014, Maczka, contrary to her campaign

   position and over the objection of 651 individuals present at the meeting who expressed

   their opposition, voted at a Richardson City Council meeting to approve the Palisades

  Property zoning change that allowed for the construction of 1090 new apartments on the

  Palisades Property adjacent to the Canyon Creek and Prairie Creek neighborhoods. Only

  one individual was present at the meeting who was in favor of the proposed zoning

  change. Maczka did not disclose to the Richardson City Council or the public during or

  prior to the meeting that Jordan had offered and given to her, and she had accepted,

  things of value from Jordan.

                  r. Between on or about June 25, 2014, to on or about June 27, 2014,

  Jordan paid for Maczka to stay with him at The Ritz-Carlton at Laguna Niguel,

  California, in the amount of $2,217.75.


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                   s. Between on or about August 13, 2014, to on or about August 15,

   2014, Jordan paid for Maczk to stay with him at the Montage at Laguna Beach,

   California, in the amount of $2,511.13.

                   t. On or about September 8, 2014, at a Wells Fargo bank branch

   located at 1500 Custer Road, Plano, Texas, in the Eastern District of Texas, Maczka

   opened Wells Fargo account 1 in her name and designated herself as the sole signatory.

   Maczka caused an interstate wire communication to be made when she opened the


   account.


                   u. On or about September 9, 2014, at approximately 1:19 pm, Jordan

   made a $1,000 ATM cash withdrawal from his Wells Fargo bank account at 1500 Custer

   Road in Plano, Texas, located in the Eastern District of Texas.

                   v. On or about September 9, 2014, at approximately 2:23 pm, Maczka

   made a $300 ATM cash deposit into her Wells Fargo account 1 at 1421 North Central

   Expressway in Plano, Texas, located in the Eastern District of Texas.

                   w. On or about September 15, 2014, Maczka made a $1,000 ATM cash

   deposit into her Wells Fargo account 1 at Santa Rosa, Florida.

                   x. On or about September 16, 2014, Jordan made an $800 ATM cash

   withdrawal from his Wells Fargo account at 18190 North Dallas Tollway in Dallas,

   Texas, located in the Eastern District of Texas.




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                   y. Between on or about September 16, 2014, to on or about September

   18, 2014, Jordan paid for Maczka to stay with him at The Pearl at Rosemary Beach,

   Florida, in the amount of $1,393.52.

                   z. On or about September 22, 2014, Maczka voted at a Richardson

   City Council meeting to authorize the City Manager for the City of Richardson to

   negotiate and execute Jordan s DEDA request for the City to reimburse JP-KBS

   Richardson Holdings LLC up to $47,000,000 for construction and infrastructure expenses

   related to the Palisades Property, and to provide a 25-year, 50% tax rebate for

   infrastructure costs. Maczka did not disclose to the Richardson City Council or the

   public during or prior to the meeting that Jordan had offered and given to her, and she

   had accepted, things of value from Jordan.

                   aa. On or about September 26, 2014, Jordan made two cash

   withdrawals in the respective amounts of $800 and $3,000 from his Wells Fargo account

   at 18190 Dallas Tollway in Dallas, Texas, located in the Eastern District of Texas.

                   bb. On or about September 29, 2014, Maczka made an $800 ATM cash

   deposit to her Wells Fargo account 1 at 1421 North Central Expressway in Plano, Texas,

   located in the Eastern District of Texas.

                   cc. On or about October 8, 2014, at a Wells Fargo bank branch located

   at 1500 Custer Road, Plano, Texas, in the Eastern District of Texas, Maczka opened

   Wells Fargo account 2 in her name and designated herself as the sole signatory. Maczka

   caused an interstate wire communication to be made when she opened the account.


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                  dd. On or about October 17, 2014, at approximately 3:49 pm, Jordan

   made an $800 ATM cash withdrawal from his Wells Fargo account at 5936 West Park

   Boulevard in Plano, Texas, located in the Eastern District of Texas.

                  ee. On or about October 17, 2014, at approximately 4:00 pm, Maczka

   made a $200 ATM cash deposit to her Wells Fargo account 2 at 212 Coit Road in Plano,

   Texas, located in the Eastern District of Texas, which was approximately 5 miles from

   5936 West Park Boulevard in Plano, Texas, where Jordan had withdrawn $800

   approximately 11 minutes earlier.

                  ff. On or about October 24, 2014, at approximately 1:13 pm, Jordan

   made a $3,500 cash withdrawal from his Wells Fargo account at 1421 North Central

   Expressway in Plano, Texas, located in the Eastern District of Texas.


                  gg. On or about October 24, 2014, at approximately 1:14 pm, Maczka

   made a $1,000 ATM cash deposit to her Wells Fargo account 2 at 1421 North Central

   Expressway in Plano, Texas, located in the Eastern District of Texas, which was the same

   location Jordan had withdrawn $3,500 approximately one minute earlier.

                  hh. On or about October 24, 2014, at approximately 2:48 pm, Maczka

   made a $2,800 ATM cash deposit to her Wells Fargo account 2 at 1421 North Central

   Expressway in Plano, Texas, located in the Eastern District of Texas.


                  ii. On or about October 31, 2014, Maczka made a $1,409 ATM cash

   deposit to her Wells Fargo account 2 at 212 Coit Road in Plano, Texas, located in the

   Eastern District of Texas.


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                   jj. Between on or about October 31, 2014, through on or about

   November 30, 2014, Jordan caused the Contractor to perform renovations at M czk s

   residence, including new hardwood floors, staircase, carpeting, painting, and pool repair

   and maintenance.


                   kk. On or about November 5, 2014, Jordan made a $7,000 cash

   withdrawal from his Wells Fargo account at 1421 North Central Expressway in Plano,

   Texas, located in the Eastern District of Texas.


                   11. On or about November 7, 2014, Maczka made a $3,900 ATM cash

   deposit to her Wells Fargo account 2 at 212 Coit Road in Plano, Texas, located in the

   Eastern District of Texas.


                   mm. On or about November 17, 2014, Jordan made a $5,000 cash

   withdrawal from his Wells Fargo account at 1421 North Central Expressway in Plano,

   Texas, located in the Eastern District of Texas.

                   nn. On or about November 20, 2014, M czka made two ATM cash


   deposits in the amounts of $1,840 and $3,000, both to her Wells Fargo account 2 at 3411

   Custer Parkway in Richardson, Texas, located in the Eastern District of Texas.

                   oo. On or about November 26, 2014, at approximately 2:11 pm, Jordan

   made an $800 ATM cash withdrawal from his Wells Fargo account at 5936 West Park

   Boulevard in Plano, Texas, located in the Eastern District of Texas.

                   pp. On or about November 26, 2014, at approximately 2:30 pm, Maczka

   made a $450 ATM cash deposit into her Wells Fargo account 2 at 212 Coit Road in


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   Plano, Texas, located in the Eastern District of Texas, which was approximately 5 miles

   from 5936 West Park Boulevard in Plano, Texas, where Jordan had withdrawn $800

   approximately 19 minutes earlier.

                  qq. Between on or about December 9, 2014, to on or about December

   10, 2014, Jordan and Maczka flew from Dallas Love Field to and back from

   Birmingham-Shuttlesworth International Airport in Alabama, on Southwest Airlines

   Flights 4855 and 4099 respectively. Southwest Airlines Flight 4099 records indicate that

   Mackza became upset with an operations agent after the agent told Maczka, who was

   still legally married to MM at the time, she had too many bags and that she would have

   to wait until her husband [Jordan] returns to carry his own [bags]. Maczka and Jordan

   ultimately boarded the flight together. Jordan paid for Maczka to stay with him at the at

   the Renaissance Resort and Spa in Hoover, Alabama, in the amount of $345.76.

                  rr. Between on or about December 12, 2014, through on or about

   December 13, 2014, Jordan gave Maczka a check in the amount of $40,000 that she

   deposited in her Wells Fargo account 2 at 1421 North Central Expressway in Plano,

   Texas, in the Eastern District of Texas.


                  ss. On or about December 23, 2014, Jordan knowingly caused the

   Contractor to create a fraudulent invoice, number 131-132, that falsely reflected that the

   Contractor had performed work, valued at $24,030.02, at one of Jordan s commercial

  properties in Irving, Texas, when in fact the Contractor had renovated Maczka’s

  residence.


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                   tt. On or about January 4, 2015, Jordan made an $800 ATM cash

   withdrawal from his Wells Fargo account at 5936 West Park Boulevard in Plano, Texas,

   located in the Eastern District of Texas.

                   uu. On or about January 5, 2015, at approximately 1:32 pm, Jordan

   made an $800 ATM cash withdrawal from his Wells Fargo account at 212 Coit Road in

   Plano, Texas, located in the Eastern District of Texas.


                   vv. On or about January 5, 2015, at approximately 4:33 pm, Maczka

   made a $1,250 ATM cash deposit into her Wells Fargo account 2 at 212 Coit Road in

   Plano, Texas, located in the Eastern District of Texas.


                   ww. On or about January 11, 2015, Maczka falsely represented herself as

   JJ, the then-Human Resources manager at Sooner National Property Management, LP, to

   an employee at a furniture store in Dallas, Texas. Maczka selected approximately

   $74,000 worth of furniture for Jordan to later purchase. On invoices dated between on

   or about January 11, 2015, and on or about March 29, 2015, Maczka caused JJ s name to

   be referenced as the individual who selected and ordered the furniture with a

   corresponding cellular telephone number that in fact belonged to Maczka, not JJ.

                   xx. On or about January 14, 2015, at approximately 1:24 pm, Maczka

   made a $300 ATM cash deposit into her Wells Fargo account 2 at 3411 Custer Parkway

   in Richardson, Texas, located in the Eastern District of Texas.




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                   yy. On or about January 14, 2015, at approximately 6:58 pm, Jordan

   made an $800 ATM cash withdrawal from his Wells Fargo account at 995 West Bethany

   in Allen, Texas, located in the Eastern District of Texas.

                   zz. On or about February 9, 2015, Jordan issued a check drawn on a


   Sooner National Property Management, LP checking account to the Company in the

   amount of $24,030.02 for payment for renovations completed at Maczka s home.

                   aaa. On or about February 23, 2015, Jordan made an $800 ATM cash

   withdrawal from his Wells Fargo account at 1421 North Central Expressway in Plano,

   Texas, located in the Eastern District of Texas.

                   bbb. On or about February 24, 2015, Maczka made a $240 ATM cash

   deposit into her Wells Fargo account 2 at 3411 Custer Parkway in Richardson, Texas,

   located in the Eastern District of Texas.

                   ccc. On or about March 2, 2015, Jordan offered Maczka employment at

   Jordan s business, Sooner National Property Management, LP, as a leasing agent.

   Jordan chose to replace the departing Employee - a leasing agent who was licensed by

   the State of Texas Real Estate Commission and whose annual salary was approximately

   $70,000 - with Maczka who was not licensed and had no experience or education

   relevant to leasing commercial property. Jordan offered Maczka an annual salary of


   $150,000, a signing bonus of $15,000, and discretionary and year-end bonuses.

                   ddd. Between on or about March 11, 2015 and March 15, 2015, Jordan

   and Maczka flew together from Dallas-Fort Worth International Airport to Durango-La


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   Plata County Airport in Colorado and returned to Dallas-Fort Worth International Airport

   from Montrose Regional Airport in Colorado on American Airlines Flights 5727 and

   5812 respectively. On or about March 12, 2015, Jordan paid for Maczka to stay with

   him at the Double Tree Hotel in Durango, Colorado, in the amount of $199.63. On or

   about March 15, 2015, Jordan provided 15,000 American Airlines miles and $75.00 for

   Maczka s flight upgrade on American Airlines Flight 5812.

                   eee. On or about March 13, 2015, Jordan gave Maczka a check in the


   amount of $9,617.20, which was the post-tax amount of the offered and accepted $15,000

   signing bonus.

                   fff. On or about March 16, 2015, Maczka, in an attempt to conceal the

   true nature of her corrupt relationship with Jordan, caused MM, her ex-husband, to file a


   fraudulent and incomplete 2014 U.S. Individual Income Tax Return, Form 1040 (the

    2014 Tax Return ) with the Internal Revenue Service. Maczka failed to identify and

   include any of the 2014 monetary payments and taxable benefits Jordan provided to her

   during the 2014 tax year.

                   ggg. On or about March 19, 2015, Maczka, in an attempt to conceal the

   things of value offered by Jordan and accepted by her, knowingly submitted a fraudulent

   Conflicts Disclosure Statement to the City of Richardson that falsely omitted things of

   value offered by Jordan and accepted by Maczka. Maczka s fraudulent submission

   reflected she had accepted no gifts with an aggregate value of $250 or more offered by

   Jordan.


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                   hhh. Between on or about March 29, 2015 and March 31, 2015, Jordan,

   and Maczka traveled separately from Dallas-Fort Worth International Airport to Los

   Angeles International Airport, and returned together on the same flight, American

   Airlines Flight 2406. Jordan also paid for Maczka to stay with him at the Montage

   Hotel in Beverly Hills, California, in the amount of $4,538.83 for two nights. On or

   about March 31, 2015, Jordan provided 15,000 American Airlines miles and $75.00 for

   Maczka s flight upgrade on American Airlines Flight 2406.

                   iii. On or about April 8, 2015, the City of Richardson retained an

   attorney, GS, to conduct an independent investigation into alleged ethical violations

   concerning the events surrounding the approval of the rezoning for the Palisades

   Property.

                   jjj. On or about April 9, 2015, GS caused a letter to be sent to JS,

   Maczka s then-attorney, in which GS requested to know when Maczka entered into a

   financial or other business relationship with Jordan/JP Realty. The letter also asked If

   [Maczka] received money or anything of value from such developer [Jordan], we would

   like to have it described together with the date it was paid or provided.

                   kkk. On or about April 17, 2015, Maczka, in an attempt to conceal the

   true nature of the corrupt relationship between Jordan and Maczka and the things of

   value offered by Jordan and accepted by Maczka, caused her then-attorney, JS, to

   submit a fraudulent letter to GS that falsely stated:

                   At no time [between November 5, 2013 and June 9, 2014] was there any
                   suggestion of, offer of, acceptance, or any implication that any form of
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                   personal financial benefit would be provided to the Mayor [Maczka], nor
                   would it have been accepted had it been made.

   Maczka s letter submitted to GS through her then-attorney, JS, neither identified nor

   disclosed any of the things of value offered by Jordan that were accepted by Maczka.

                   111. On or about April 20, 2015, Maczka, in an attempt to conceal the

   true nature of the corrupt relationship between Jordan and Maczka and the things of

   value offered by Jordan and accepted by Maczka, sent an email to a journalist in which

   she stated, among other things, the following to the below question:

           Question: Did you have an inappropriate relationship with JP Partners resulting in
                     a conflict of interest?

           Maczka: No

                   mmm. On or about April 28, 2015, GS issued a report of his investigation

   in which he stated:

                   We spoke by telephone with Jordan at J.P. Realty Partners, Ltd., who
                   confirmed that neither he, nor his company had a financial or other business
                   relationship with the Mayor [Maczka] prior to October 2014. He [Jordan]
                   also stated that the Mayor did not receive any financial or other benefit from
                   him or his company prior to her employment in 2015. Mr. Jordan also
                   recalled making a $500 political campaign contribution to the Mayor for her
                   previous election and made an equal donation to her opponent.

                   nnn. On or about April 28, 2015, Maczka, at a Richardson City Council

   Special Called meeting, addressed the conflict of interest ethics investigation regarding

   the Palisades and Jordan. She stated the following about her relationship with Jordan.

                   Much has been discussed about my relationship with the developer,
                   Jordan. . .1 acknowledge that I have a personal relationship with Mark.
                   We became friends through the zoning process and that friendship has


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                   continued. As he has done for other friends, when I needed a job and he
                   had an opening, he offered me the opportunity....

   In an attempt to mislead the citizens of the City of Richardson and conceal the true nature

   of her corrupt relationship with Jordan and the things of value offered by Jordan that

   were accepted by her, Maczka knowingly and willfully failed to disclose to the

   Richardson City Council or to the public the true nature of the corrupt relationship,

   including the things of value she had accepted from Jordan.

                   ooo. On or about April 29, 2015, Jordan executed the DEDA on behalf

   of JP-KBS Richardson Holdings, EEC as its managing member.

                   ppp. On or about May 7, 2015, the City of Richardson city manager

   executed the DEDA on behalf of the City of Richardson.

                   qqq. On or about July 7, 2015, Jordan, in an attempt to conceal the true

   nature of the corrupt relationship between Jordan and Maczka, knowingly executed

   under oath the Answers to Respondent s Written Interrogatories to Petitioner that

   falsely reflected he had neither offered nor gave Maczka any gifts, transfers of funds, or

   money in excess of $250 since January 1, 2010, when in fact Jordan knew that he had

   given and offered Maczka such things of value since January 1, 2010. Additionally with

   the intent to conceal the true nature of the corrupt relationship, Jordan knowingly under

   oath caused the “Answers to Respondent’s Written Interrogatories to Petitioner to


   falsely reflect that Jordan did not engage in “intimate sexual contact with Maczka until

   “July 2014, when in fact Jordan knew that he had engaged in intimate sexual contact

   with Maczka as early as in or about January 2014.
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                  rrr. On or about July 7, 2015, Jordan caused the fraudulent Answers to

   Respondent s Written Interrogatories to Petitioner to be filed in Denton County District

   Court, located in the Eastern District of Texas.

                  sss. On or about September 9, 2015, Jord n, on behalf of Sooner

   National Property Management, LP and in an attempt to conceal the true nature of the

   corrupt relationship between Jordan and Maczka, caused GK, Jordan s accountant, to

   file a fraudulent 2014 U.S. Return of Partnership Income, Form 1065. Specifically,

   Jordan concealed from GK the things of value Jordan had provided to Maczka using

   Sooner National Property Management funds, which Jordan caused to be obscured as

   legitimate business expenses in General Ledgers provided to GK. This caused GK to

   deduct a fraudulent amount for business travel and entertainment expenses incurred


   during the year 2014.

                  ttt. On or about May 24, 2016, Maczka, in an attempt to conceal the

   true nature of her corrupt relationship with Jordan, filed and caused to be filed a

   fraudulent and incomplete 2015 U.S. Individual Income Tax Return, Form 1040 with the

   Internal Revenue Service which failed to identify and include any of the 2015 monetary

  payments and taxable benefits Jordan had provided to her during the 2015 tax year.

                  uuu. On or about July 20, 2016, Jordan, on behalf of Sooner National

  Property Management, LP and in an attempt to conceal the true nature of the corrupt

  relationship between Jordan and Maczka, caused GK, Jordan’s accountant, to file a


   fraudulent 2015 U.S. Return of Partnership Income, Form 1065 (the 2015 Tax Return ).


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   Specifically, among other fraudulent expense amounts deducted, Jordan caused GK to

   depreciate and claim the $24,030.02 expense to renovate M czka s residence as a

   business deduction in the approximate amount of $14,000 concerning the Company s

   fraudulent invoice, number 131-132, in the 2015 Tax Return.

           In violation of 18 U.S.C. § 1349.




                                    Counts Three through Four

                                                    Violation: 18 U.S.C. §§ 1343, 1346
                                                    (Honest Services Wire Fraud)

   A. Introduction


           1. The grand jury re-alleges the allegations contained in Paragraphs 1 through

   10 and Paragraphs 13 through 20 of Count One of this Superseding Indictment and

   further alleges the following.

   B. The Scheme and Artifice to Defraud

           2. Maczka and Jordan, defendants, devised a scheme and artifice to deprive

   the citizens of the City of Richardson, through fraud, of their right to the honest services

   of the mayor of the City of Richardson free from corrupt influence, and, in execution of

   the scheme and artifice, caused writings, signs, and signals to be transmitted by means of

   wire communications in interstate commerce.




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   C. The Purpose of the Scheme and Artifice

           3. The purpose of the scheme and artifice was for the defendants to use

   Maczka s official position as the mayor of the City of Richardson to benefit and enrich

   themselves through bribery.

   D. The Execution of the Scheme and Artifice

           4. On or about the following dates, in the Eastern of District of Texas and

   elsewhere, the following defendants, for the purpose of executing the scheme and artifice,

   caused the following wire transmissions from the Eastern District of Texas to the State of

   Minnesota, regarding the following bank action and transactions in the following

   amounts, to be made in interstate commerce:


   Count           Defendant              Date          Bank Transaction Type Amount

                                   September 9, 2014
      3             Jordan                             ATM Cash Withdrawal        $1,000

                    Maczka
      4                            September 9, 2014     ATM Cash Deposit          $300


           Each Count in violation of 18 U.S.C. §§ 1343 and 1346.




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                                             Count Five

                                                    Violation: 18 U.S.C. § 371 (Conspiracy
                                                    to Commit Bribery Concerning A
                                                    Program Receiving Federal Funds)

   A. Introduction


           1. The grand jury re-alleges the allegations contained in Paragraphs 1 through

   10 and Paragraphs 13 through 19 of Count One of this Superseding Indictment and

   further alleges the following.

           2. At all times material to this Superseding Indictment, the City of Richardson

   was a local government that received federal assistance in excess of $10,000 during each

   of calendar years 2013, 2014, and 2015.

   B. Conspiracy

           3. Between in or around May 2013, through on or about July 31, 2016, in the

   Eastern District of Texas and elsewhere, Maczka conspired, combined and agreed with

   Jordan to:


                   a. corruptly accept and agree to accept a thing of value from Jordan,

   intending to be influenced and rewarded by Jordan in connection with a business,

   transaction, and series of transactions with the City of Richardson involving a thing of

   value of $5,000 or more (a violation of 18 U.S.C. § 666(a)(1)(B)); and

                   b. corruptly give, offer, and agree to give a thing of value to Maczka,

   with the intent to influence and reward Maczka, an agent of the City of Richardson, in

   connection with a business, transaction, and series of transactions with the City of


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   Richardson involving a thing of value of $5,000 or more (a violation of 18 U.S.C. §

   666(a)(2)).

   C. Overt Acts of the Conspiracy

           4. The Grand Jury re-alleges the facts contained in Paragraph 20 of Count One

   of this Superseding Indictment.

           In violation of 18 U.S.C. § 371.




                                              Count Six

                                                       Violation: 18 U.S.C. § 666(a)(1)(B)
                                                       (Bribery Concerning Program Receiving
                                                       Federal Funds)

           1. The grand jury re-alleges the allegations contained in Paragraphs 1 through

   10 and Paragraphs 13 through 20 of Count One of this Superseding Indictment,

   Paragraph 2 of Count Five of this Superseding Indictment, and further alleges the

   following.

           2. Between in or around May 2013, through on or about July 31, 2016, in the

   Eastern District of Texas and elsewhere, Maczka, defendant, corruptly accepted a thing

   of value from Jordan, intending to be influenced and rewarded by Jordan in connection

   with a business, transaction, and series of transactions with the City of Richardson

   involving a thing of value of $5,000 or more.

           In violation of 18 U.S.C. § 666(a)(1)(B).




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                                              Count Seven


                                                      Violation: 18 U.S.C. § 666(a)(2)
                                                      (Bribery Concerning Program Receiving
                                                      Federal Funds)

             1. The grand jury re-alleges the allegations contained in Paragraphs 1 through

   10 and Paragraphs 13 through 20 of Count One of this Superseding Indictment,

   Paragraph 2 of Count Five of this Superseding Indictment, and further alleges the

   following.

           2. Between in or around May 2013, through on or about July 31, 2016, in the

   Eastern District of Texas and elsewhere, Jordan, defendant, corruptly gave and offered a

   thing of value to Maczka, with the intent to influence and reward Maczka, an agent of the

   City of Richardson, in connection with a business, transaction, and series of transactions

   with the City of Richardson involving a thing of value of $5,000 or more.

           In violation of 18 U.S.C. § 666(a)(2).



                                              Count Eight

                                                      Violation: 18 U.S.C. § 371 (Conspiracy
                                                      to Defraud the United States)
   A. Introduction


           1. The grand jury re-alleges the allegations contained in Paragraphs 1 through

   10 and Paragraphs 13 through 19 of Count One of this Superseding Indictment and

   further alleges the following.




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           2. The IRS, an agency of the United States Department of the Treasury, was

   responsible for the administration of the internal revenue laws of the United States.

   B. Conspiracy


           3. Between in or around May 2013, through on or about July 31, 2016, in the

   Eastern District of Texas and elsewhere, Maczk conspired, combined and agreed with

   Jordan to defraud the United States for the purpose of impeding, impairing, obstructing,

   and defeating the lawful government functions of the IRS in the ascertainment,

   computation, assessment, and collection of federal income taxes: to wit, Maczka s 2014

   joint tax return and Maczka s 2015 individual tax return and Jordan’s 2014 and 2015

   partnership income.


   C. Overt Acts of the Conspiracy

          4. The grand jury re-alleges the facts contained in Paragraph 20 of Count One

   of this Superseding Indictment.

          In violation of 18 U.S.C. § 371.




                                     Counts Nine through Ten

                                                    Violations: 26 U.S.C. § 7206(2)
                                                    (Willfully Aiding and Assisting in the
                                                    Preparation and Presentation of
                                                    Materially False Tax Returns)

          1. The grand jury re-alleges the allegations contained in Paragraphs 1 through

   10 and Paragraphs 13 through 20 of Count One of this Superseding Indictment,



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   Paragraph 2 of Count Eight of this Superseding Indictment, and further alleges the

   following.

            2. On or about the following dates, in the Eastern District of Texas and

   elsewhere, Maczka, defendant, willfully aided and assisted in, and procured, counseled,

   and advised the preparation and presentation to the IRS of U.S. Individual Income Tax

   Returns, IRS Forms 1040, for the following tax years, which tax returns were false and

   fraudulent as to material matters, including but not limited to, those described below.

   Specifically, the following tax returns fraudulently underreported amounts in Other

   income and Schedule C Business Income” by materially omitting the things of value

   Jordan had provided to Maczka, whereas, as Maczka then knew, her true “Other”

   income and “Business Income” exceeded the falsely reported income.


                On or About
                   Date          Tax
    Count                                 Fraudulent Form        False Material Matter(s)
                Fraudulent      Year
                Return Filed

                                              Form 1040, U.S.    Form 1040 - Lines 21 and
       9       April 15,2015     2014     Individual Income     22 - Other and Total Income
                                             Tax Return

                                                                   Form 1040 Line 12 -
                                              Form 1040, U.S.      Schedule C - Business
                                          Individual Income              Income
       10      May 24, 2016      2015        Tax Return
                                                                 Form 1040 - Lines 21 and
                                                                22 - Other and Total Income




   Each count in violation of 26 U.S.C. § 2706(2).

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                                  Counts Eleven through Twelve

                                                    Violations: 26 U.S.C. § 7206(2)
                                                    (Willfully Aiding and Assisting in the
                                                    Preparation and Presentation of
                                                    Materially False Tax Returns)

            1. The grand jury re-alleges the allegations contained in Paragraphs 1 through

   10 and Paragraphs 13 through 20 of Count One of this Superseding Indictment,

   Paragraph 2 of Count Eight of this Superseding Indictment, and further alleges the

   following.

            2. On or about the following dates, in the Eastern District of Texas and

   elsewhere, Jordan, defendant, willfully aided and assisted in, and procured, counseled,

   and advised the preparation and presentation to the IRS of U.S. Returns of Partnership

   Income for Sooner National Property Management, LP, Forms 1065, for the following

   tax years, which Jordan did not believe to be true and correct as to every material matter.


   Specifically, the following tax returns included fraudulent amounts for Other

   Deductions and consequential underreported amounts in Ordinary Business Income,”


   whereas, as Jordan then knew, the things of value he provided to Maczka were not

   legitimate business deductions and that his true total Ordinary Business Income exceeded

   the falsely reported income.




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               On or About
                  Date
                                 Tax
    Count      Fraudulent                     Fraudulent Form      False Material Matter(s)
                                Year
               Return Filed

                                                                   Form 1065 - Line 20 -
                                                                     Other Deductions
                                        Form 1065, U.S. Returns
                                          of Partnership Income    Form 1065 - Line 21 -
                                           for Sooner National       Total Deductions
       11          09/09/2015   2014
                                          Property Management,
                                                    LP             Form 1065 - Line 22 -
                                                                  Ordinary Business Income
                                                                            (loss)

                                                                   Form 1065 - Line 20 -
                                                                     Other Deductions
                                        Form 1065, U.S. Returns
                                          of Partnership Income    Form 1065 - Line 21 -
                                           for Sooner National       Total Deductions
       12          07/20/2016   2015
                                         Property Management,
                                                    LP             Form 1065 - Line 22 -
                                                                  Ordinary Business Income
                                                                            (loss)




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                   NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

                     Pursuant to 18 U.S.C. § 981(a m(C and 28 U.S.C. $ 2461

           As the result of committing the offenses alleged in this Superseding Indictment,

   the defendants shall forfeit to the United States:

           any property, real or personal, which constitutes or is derived from proceeds

   traceable to a violation of any offense constituting specified unlawful activity (as

   defined in 18 U.S.C. § 1956(c)(7)), or a conspiracy to commit such offense, including,

   but not limited to, the following:

           Cash Proceeds

           A money judgment in United States currency and all interest and proceeds

   traceable thereto, in that such sum in aggregate is property constituting, or derived from,

   proceeds obtained directly or indirectly, as the result of the offenses alleged in this

   Superseding Indictment.

           Substitute Assets

            If any of the property described above as being subject to forfeiture, as a result of

   any act or omission of the defendants-


           (a) cannot be located upon the exercise of due diligence;

           (b) has been transferred or sold to, or deposited with a
                  third person;

           (c) has been placed beyond the jurisdiction of the court;

           (d) has been substantially diminished in value; or
           (e) has been commingled with other property which
                 cannot be subdivided without difficulty;
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   it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture of

   any other property of the defendants up to the value of the above forfeitable property,

   including but not limited to all property, both real and personal owned by the defendants.

           By virtue of the commission of the offenses alleged in this Superseding

   Indictment, any and all interest the defendants have in the above-described property is

   vested in and forfeited to the United States.

                                                     A TRUE BILL




                                                     GRAND JURY FOREPERSON

   STEPHEN J. COX
   UNITED STATES ATTORNEY



                                                                    - C t y      r 2?
   CHRISTOPHER A. EASON                             Date
   Assistant United States Attorney
   Texas Bar No. 24108053

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   ATTORNEYS FOR THE UNITED STATES



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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

   UNITED STATES OF AMERICA §
                                                   §
   v.                                §                      No. 4T8CR87
                                                   §        Judge Mazzant
   LAURA JORDAN (1) §
     a/k/a Laura Maczka §
   MARK JORDAN (2) §

                                     NOTICE OF PENALTY

                                              Count One

   Violation: 18 U.S.C. § 1349
                  (Conspiracy to Commit Honest Services Wire Fraud)

   Penalty: A fine of not more than $250,000, or twice the gross pecuniary gain
                         or loss, and/or imprisonment for not more than 20 years, and a term
                         of supervised release for not more than 5 years.


   Special
   Assessment: $100.00

                                    Counts Three through Four

   Violation: 18 U.S.C. §§ 1343, 1346
                   (Honest Services Wire Fraud)

   Penalty: For each count: A fine of not more than $250,000, or twice the
                         gross pecuniary gain or loss, and/or imprisonment for not more than
                         20 years, and a term of supervised release for not more than 5 years.


   Special
   Assessment: For each count: $100.00




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                                              Count Five

   Violation:             18U.S.C. § 371
                          (Conspiracy)

   Penalty:               A fine of not more than $250,000, or twice the gross pecuniary gain
                          or loss, and/or imprisonment for not more than 5 years, and a term of
                          supervised release for not more than 3 years.


   Special
   Assessment:            $100.00


                                               Count Six

   Violation:             18U.S.C. § 666(a)(1)(B)
                          (Bribery Concerning Program Receiving Federal Funds)

   Penalty:              A fine of not more than $250,000, or twice the gross pecuniary gain
                         or loss, and/or imprisonment for not more than 10 years, and a term
                          of supervised release for not more than 3 years.


   Special
   Assessment:            $100.00

                                              Count Seven


   Violation:             18 U.S.C. § 666(a)(2)
                         (Bribery Concerning Program Receiving Federal Funds)

   Penalty:              A fine of not more than $250,000, or twice the gross pecuniary gain
                         or loss, and/or imprisonment for not more than 10 years, and a term
                         of supervised release for not more than 3 years.


   Special
   Assessment:           $100.00




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                                              Count Eight

   Violation:             18U.S.C. § 371
                         (Conspiracy)

   Penalty:              A fine of not more than $250,000, or twice the gross pecuniary gain
                         or loss, and/or imprisonment for not more than 5 years, and a term of
                         supervised release for not more than 3 years.


   Special
   Assessment:           $100.00

                                   Counts Nine through Twelve

   Violation:            26 U.S.C. § 7206(2)
                         (Willfully Aiding and Assisting in the Preparation and Presentation
                         of Materially False Tax Returns)

   Penalty:              For each count: A fine of not more than $100,000, or twice the ross
                         pecuniary gain or loss, and/or imprisonment for not more than 3
                         years, and a term of supervised release for not more than 1 year.


   Special
   Assessment:           For each count: $100.00




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